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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION




JOSEPH CASEY, and RAQUEL AGEE,                        Case No. 3:24-cv-00803
individually, and on behalf of all others similarly
situated,                                             CLASS ACTION COMPLAINT

              Plaintiffs,
                                                      JURY TRIAL DEMANDED
       vs.

AT&T, INC.,

              Defendant.




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         Plaintiff Joseph Casey (“Casey”) and Raquel Agee (“Agee”) (collectively

“Plaintiffs”), individually, and on behalf of the class defined below, bring this class action

complaint against AT&T, Inc., (“AT&T” or “Defendant”) and allege as follows:

                                   INTRODUCTION

         1.    Plaintiffs bring this action against AT&T for its failure to properly and

adequately safeguard the personally identifying information (“PII”) of tens of millions of

current and former AT&T customers.

         2.    Defendant AT&T is a telecommunications provider headquartered in Dallas,

Texas.    AT&T    provides    consumer      and   business   cellular,   internet,   and   other

telecommunications services throughout the United States. AT&T arose from the Bell

Telephone Company, founded in 1877 by Alexander Graham Bell. Over the course of nearly

one hundred and fifty years, and after a series of mergers and acquisitions in the

telecommunication industry, AT&T has grown into the largest telecommunications company

in the United States, with a market share of approximately 46% of wireless subscriptions.

         3.    As a requirement of providing services, AT&T collects critical PII from

consumers, including, but not limited to, their names, email addresses, mailing addresses,

birth dates, and Social Security Numbers.

         4.    On or about March 30, 2024, AT&T posted a notice on its website stating that

“a number of AT&T passcodes have been compromised.”1 The notice further stated that “we

will be communicating with current and former account holders with compromised sensitive

personal information” but provided no specifics about what “sensitive personal information”



1
        See https://www.att.com/support/article/my-account/000101995?bypasscache=1, last
visited April 1, 2024.



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was involved (the “Data Breach”).2 AT&T confirmed that a “data set” consisting of data

relating to 7.6 million current AT&T customers and approximately 65.4 million former

account holders had been released on the dark web approximately two weeks prior.3,4,5 AT&T

further acknowledged that this “data set” included critical PII such as names, Social Security

numbers, email addresses, mailing addresses, phone numbers, and birth dates.

       5.      News reports further indicate that this “data set” appears to relate to a data

breach that occurred in 2021, but was never acknowledged or remedied in any way by AT&T.6

Id. At least one news outlet reports that AT&T disputes this claim, yet the Company has failed

to explain to Plaintiffs and Class Members who is responsible for the Data Breach and when

it occurred.7 Notably, in 2021, when data purported to be from this 2021 breach surfaced,

AT&T denied that it had been breached. Id. Similarly, on March 22, 2024, when TechCrunch

initially reported on the release of AT&T data on the dark web, AT&T stated “We have no

indications of a compromise of our systems. We determined in 2021 that the information

offered on this online forum did not appear to have come from our systems. This appears to

be the same dataset that has been recycled several times on this forum.” Id.

       6.      Plaintiffs seek to hold Defendant responsible for its failure to protect and keep


2
        Id.
3
        https://about.att.com/story/2024/addressing-data-set-released-on-dark-web.html, last
visited April 1, 2024.
4
         See https://fortune.com/2024/03/31/att-data-breach-over-70-million-dark-web/,
last visited April 1, 2024.
5
       https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web, last visited April
1, 2024.
6
         https://techcrunch.com/2024/03/22/att-customers-data-leak-online/?guccounter=1 ,
last visited April 1, 2024.
7
       https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web, last visited April
1, 2024.



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secure the PII of Plaintiffs and similarly situated Class Members.

       7.      Plaintiffs further seek to hold Defendant responsible for its egregious failure

to (a) identify the Data Breach, (b) identify its extent, and (c) promptly notify consumers.

       8.      At all relevant times, Defendant was aware of the risks of a Data Breach and

that it would be specifically targeted by malicious hackers. Indeed, in 2021, AT&T competitor

T-Mobile was the subject of a massive data breach involving the same critical PII, names,

birth dates, and Social Security Numbers, that are at issue here.8

       9.      Armed with the PII from these records, hackers can sell the PII to other thieves

or misuse the PII themselves to commit a variety of crimes that harm victims of the Data

Breach. For instance, they can take out loans, mortgage property, open financial accounts,

and open credit cards in a victim’s name; use a victim’s information to obtain government

benefits; or file fraudulent returns to obtain a tax refund; obtain a driver’s license or

identification card in a victim’s name; gain employment in another person’s name; or give

false information to police during an arrest.

       10.     As a result of Defendant’s willful failure to prevent the Data Breach, Plaintiffs

and Class Members are more susceptible to identity theft and have experienced, will continue

to experience, and face an increased risk of financial harms, in that they are at substantial risk

of identity theft, fraud, and other harm.

                                            PARTIES

       11.     Plaintiff Joseph Casey is a resident of San Diego and a citizen of San Diego

County, California. Plaintiff has been a wireless customer of AT&T for at least fifteen years.

In order to receive services from AT&T, Plaintiff was required to provide PII such as his


8
       https://www.t-mobile.com/news/network/additional-information-regarding-2021-
cyberattack-investigation, last visited April 1, 2024.


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name, email address, mailing address, birth date, and Social Security Number. As a result of

Defendant’s actions, Plaintiff has been injured, has suffered financial losses, and will be

subject to a substantial, continuing risk for further identity theft due to Defendant’s Data

Breach. Since learning of the Data Breach, Plaintiff has carefully monitored his financial

accounts and credit reports. As a further result of Defendant’s actions, Plaintiff will need to

continue monitor his financial accounts and credit reports and take other measures to protect

himself from identity theft and fraud. Plaintiff believed, at the time he opened a wireless

account with AT&T, that AT&T would maintain the privacy and security of the PII he was

required to provide. Plaintiff further believes he paid a premium to AT&T for its data security.

Plaintiff would not have used AT&T had he known that it would expose sensitive customer

PII, making it available to identity thieves.

       12.     Plaintiff Raquel Agee is a resident of Olivenhain and a citizen of San Diego

County, California. Plaintiff was a customer of AT&T since approximately 2011, recently

cancelling her services with Defendant. In order to receive services from AT&T, when she

was an AT&T wireless customer, Plaintiff was required to provide PII such as her name, email

address, mailing address, birth date, and Social Security Number. As a result of Defendant’s

actions, Plaintiff has been injured, has suffered financial losses, and will be subject to a

substantial, continuing risk for further identity theft due to Defendant’s Data Breach. Since

learning of the Data Breach, Plaintiff has carefully monitored her financial accounts and credit

reports. As a further result of Defendant’s actions, Plaintiff will need to continue monitoring

her financial accounts and credit reports and taking other measures to protect herself from

identity theft and fraud. Plaintiff believed, at the time she opened a wireless account with

AT&T, that AT&T would maintain the privacy and security of the PII she was required to




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provide. Plaintiff further believes she paid a premium to AT&T for its data security. Plaintiff

would not have used AT&T had she known that it would expose sensitive customer PII,

making it available to identity thieves.

         13.    Defendant AT&T, Inc. is a Delaware corporation with its principal place of

business located at 208 South Akard Street in Dallas, Texas. Defendant can be served through

their registered agent CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

75201.

                                JURISDICTION AND VENUE

         14.    This Court has subject matter jurisdiction over this action under the Class

Action Fairness Act, 28 U.S.C. § 1332(d). This lawsuit is a class action with an amount in

controversy over $5 million, involving over 100 proposed class members, some of whom are

from a different state than Defendant.

         15.    This Court may exercise personal jurisdiction over Defendant because

Defendant is registered to do business and has its principal place of business in this district.

         16.    Venue is proper in this District under 28 U.S.C. § 1391 because Defendant is

headquartered in this District, and a substantial part of the events or omissions giving rise to

Plaintiffs’ claims occurred in this District.

                                 FACTUAL ALLEGATIONS

         A.     The Data Breach

         17.    Defendant AT&T, Inc. is a Dallas, Texas-based telecommunications provider

that provides, inter alia, cellular wireless services and internet services to consumers

throughout the United States.

         18.    AT&T provides telecommunications, internet, or other services to more than




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100 million U.S. consumers.9 It is self-described as “the future of connectivity.” Id.

       19.        In its Privacy Policy, AT&T represents that it will maintain the security and

privacy of customers’ personal information. For instance, AT&T states the following in its

Privacy Policy:



                  We work hard to safeguard your information using technology controls and
                  organizational controls. We protect our computer storage and network
                  equipment. We require employees to authenticate themselves to access
                  sensitive data. We limit access to personal information to the people who need
                  access for their jobs. And we require callers and online users to authenticate
                  themselves before we provide account information.10

       20.        AT&T also represents that, in the event of a data breach, it will notify impacted

consumers:

                  No security measures are perfect. We can’t guarantee that your information
                  will never be disclosed in a manner inconsistent with this notice. If a breach
                  occurs, we’ll notify you as required by law.11

       21.        The Privacy Policy also provides that Defendant collects a broad range of

information on its customers including, inter alia:


                 Name, postal address, email address, account name, Social Security number,
                  driver’s license number, passport number, taxpayer identification number, IP
                  address, device IDs;
                 Age, age range, date of birth, gender, preferred language, marital status;
                 Biometric information such as Fingerprint, voiceprint, or scan of face
                  geometry, that is used to identify a specific individual;
                 Education information such as Degree(s), actual or inferred level of education;
                 Professional or employment related information such as Current or past
                  employment; history, licenses and professional membership.12



9
        https://investors.att.com/investor-
profile#:~:text=AT%26T%20Communications%20provides%20more%20than,expansion%20an
d%20wireless%20network%20enhancements, last visited April 2, 2024.
10
        https://about.att.com/privacy/privacy-notice.html, last visited April 1, 2024.
11
        https://about.att.com/privacy/privacy-notice.html, last visited April 1, 2024.
12
        https://about.att.com/privacy/privacy-notice/state-disclosures.html#we-collect, last visited
April 1, 2024.


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       22.     On or about March 30, 2024, AT&T posted a notice on its website stating that

“a number of AT&T passcodes have been compromised.”13 The notice further stated that “we

will be communicating with current and former account holders with compromised sensitive

personal information” but provided no specifics about the “sensitive personal information”

involved in the Data Breach.14 AT&T confirmed that, approximately two weeks prior to its

announcement, the “data set,” relating to 7.6 million current AT&T customers and

approximately 65.4 million former account holders, had been released on the dark web.15,16,17

AT&T further acknowledged that this “data set” included critical PII such as names, Social

Security numbers, email addresses, mailing addresses, phone numbers, and birth dates.

       23.     News reports further indicate that this “data set” appears to relate to a data

breach (the “Data Breach”) that occurred in 2021, but was never acknowledged or remedied

by AT&T.18 At least one news outlet reports that AT&T disputes any connection to a 2021

Data Breach, however, the Company has identified neither who is responsible for the Data

Breach nor when it occurred.19 Notably, in 2021, when data purportedly from this 2021




13
        See https://www.att.com/support/article/my-account/000101995?bypasscache=1, last
visited April 1, 2024.
14
        Id.
15
        https://about.att.com/story/2024/addressing-data-set-released-on-dark-web.html, last
visited April 1, 2024.
16
         See https://fortune.com/2024/03/31/att-data-breach-over-70-million-dark-web/,
last visited April 1, 2024.
17
       https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web, last visited April
1, 2024.
18
  https://techcrunch.com/2024/03/22/att-customers-data-leak-online/?guccounter=1 , last
visited April 1, 2024.
19
       https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web, last visited April
1, 2024.



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breach surfaced, AT&T denied that its customer data security had been breached.20 Similarly,

on March 22, 2024, when TechCrunch initially reported on the release of AT&T data on the

dark web, AT&T stated, “We have no indications of a compromise of our systems. We

determined in 2021 that the information offered on this online forum did not appear to have

come from our systems. This appears to be the same dataset that has been recycled several

times on this forum.”21

       24.     AT&T’s failure to protect the PII of current and former customers, and its

failure to timely disclose the Data Breach, has left tens of millions of Class Members at

heightened risk of financial fraud and identity theft.

       B.      AT&T is Well Aware of the Threat of Cyber Theft and Exfiltration in
               the Telecommunications Industry

       25.     As a condition of its relationships with its customers, including Plaintiffs and

Class Members, Defendant required that they entrust it with highly sensitive and confidential

PII. Defendant, in turn, collected that information and assured consumers that it was acting to

protect that PII and to prevent its disclosure.

       26.     Plaintiffs and Class Members were required to provide their PII with the

reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such information confidential and secure from unauthorized access and

disclosure.

       27.     Plaintiffs and Class Members have taken reasonable steps to maintain the

confidentiality of their PII. Plaintiffs and Class Members relied on Defendant to keep their




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       https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web, last visited April
1, 2024.
21
       Id.


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PII confidential and securely maintained, to use this information for business purposes only,

and to make only authorized disclosures of this information.

       28.     Defendant could have prevented the Data Breach by assuring that the PII at

issue was properly secured.

       29.     Defendant’s overt negligence in safeguarding Plaintiffs’ and Class Members’

PII is exacerbated by repeated warnings and alerts directed to protecting and securing

sensitive data, as evidenced by the trending data breach attacks in recent years. Further, as a

business operating in the telecommunications space, Defendant was on notice that companies

in that industry are targets for data breaches, especially in light of the massive 2021 data

breach at competitor T-Mobile.

       30.     PII, including names and social security numbers are uniquely valuable to

hackers. With these pieces of information, criminals can open new financial accounts in Class

Members’ names, take loans in their names, use their names to obtain medical services, obtain

government benefits and/or identification, file fraudulent tax returns in order to get refunds to

which they are not even entitled, and numerous other assorted acts of thievery and fraud.

       31.     Social Security numbers are among the most sensitive kind of personal

information and the hardest to rehabilitate if it is misused or misappropriated. An individual

cannot easily obtain a new Social Security number. Doing so, requires the completion of

significant paperwork and provision of evidence of actual misuse. In other words, preventive

action to guard against potential misuse of a Social Security number is not permitted; an

individual instead must show evidence of actual, ongoing fraud to obtain a new number.

       32.     A new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to




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link the new number very quickly to the old number, so all of that old bad information is

quickly inherited into the new Social Security number.”

       33.     For this reason, hackers prey on companies that collect and maintain sensitive

financial information, including telecommunications companies. Companies, like AT&T,

have been aware of this, and the need to take adequate measures to secure their systems and

customer information, for a number of years.

       34.     In 2021, 1,862 data breaches occurred, resulting in approximately 164,683,455

sensitive records being exposed, an increase of 68% over 2020 and a 23% increase over the

previous all-time high. These data breaches exposed the sensitive data of approximately 294

million people. Id. Hackers are increasingly targeting highly sensitive PII, including social

security numbers and, in 2021, approximately 1,136 data breaches exposed social security

numbers.

       35.     Companies, like Defendant AT&T, are well aware of the risk that data

breaches pose to consumers, especially because both the size of their customer base and the

fact that the PII that they collect and maintain is profoundly valuable to hackers. Indeed,

Federal Reserve Chairman Jerome Powell has referred to cyber-attacks as the number one

threat to the global financial system.

       36.     It can be inferred from the Data Breach that Defendant either failed to

implement, or inadequately implemented, information security policies or procedures in place

to protect Plaintiffs’ and Class Members’ PII.

       37.     Upon information and belief, prior to the Data Breach, Defendant was aware

of its security failures but failed to correct them or to disclose them to the public, including

Plaintiffs and Class Members.




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       38.     The implementation of proper data security processes requires affirmative acts.

Accordingly, Defendant knew or should have known that it did not make such actions and

failed to implement adequate data security practices.

       39.     Because Defendant has failed to comply with industry standards, while

monetary relief may cure some of Plaintiffs’ and Class Members’ injuries, injunctive relief is

necessary to ensure Defendant’s approach to information security is adequate and appropriate.

Defendant still maintains the PII of Plaintiffs and Class Members; and without the Court’s

intervention via injunctive relief, Representative Plaintiffs’ and Class Members’ PII remains

at risk of subsequent data breaches.

       40.     Defendant owed a duty to Plaintiffs and Class Members to exercise reasonable

care in obtaining, retaining, securing, safeguarding, deleting, and protecting the PII and

financial information in Defendant’s possession from being compromised, lost, stolen,

accessed, and misused by unauthorized persons. Defendant owed a duty to Plaintiffs and Class

Members to provide reasonable security, including consistency with industry standards and

requirements, and to ensure that its computer systems, networks, and protocols adequately

protected the PII financial information of Plaintiffs and Class Members.

       41.     Defendant owed a duty to Plaintiffs and Class Members to ensure that the PII

it collected and was responsible for was adequately secured and protected.

       42.     Defendant owed a duty to Plaintiffs and Class Members to create and

implement reasonable data security practices and procedures to protect the PII and financial

information in its possession, including not sharing information with other entities who

maintained sub-standard data security systems.




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       43.     Defendant owed a duty to Plaintiffs and Class Members to implement

processes that would immediately detect a breach that impacted the PII it collected and was

responsible for in a timely manner.

       44.     Defendant owed a duty to Plaintiffs and Class Members to act upon data

security warnings and alerts in a timely fashion.

       45.     Defendant owed a duty to Plaintiffs and Class Members to disclose if its data

security practices were inadequate to safeguard individuals’ PII from theft because such an

inadequacy would be a material fact in the decision to entrust this PII to Defendant.

       46.     Defendant owed a duty of care to Plaintiffs and Class Members because they

were foreseeable and probable victims of any inadequate data security practices.

       47.     Defendant owed a duty to Plaintiffs and Class Members to mitigate the harm

suffered by the Representative Plaintiffs’ and Class Members’ as a result of the Data Breach

       48.     As a direct and proximate result of Defendant’s reckless and negligent actions,

inaction, and omissions, the resulting Data Breach, the unauthorized release and disclosure of

Plaintiffs’ and Class Members’ PII, and Defendant’s failure to properly and timely notify

Plaintiffs and Class Members, Plaintiffs and Class Members are more susceptible to identity

theft and have experienced, will continue to experience and will face an increased risk of

experiencing the following injuries, inter alia:

               a. money and time expended to prevent, detect, contest, and repair identity

                   theft, fraud, and/or other unauthorized uses of personal information;

               b. money and time lost as a result of fraudulent access to and use of their

                   financial accounts;

               c. loss of use of and access to their financial accounts and/or credit;




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         d. money and time expended to avail themselves of assets and/or credit frozen

            or flagged due to misuse;

         e. impairment of their credit scores, ability to borrow, and/or ability to obtain

            credit;

         f. lowered credit scores resulting from credit inquiries following fraudulent

            activities;

         g. money, including fees charged in some states, and time spent placing fraud

            alerts and security freezes on their credit records;

         h. costs and lost time obtaining credit reports in order to monitor their credit

            records;

         i. anticipated future costs from the purchase of credit monitoring and/or

            identity theft protection services;

         j. costs and lost time from dealing with administrative consequences of the

            Data Breach, including by identifying, disputing, and seeking

            reimbursement for fraudulent activity, canceling compromised financial

            accounts and associated payment cards, and investigating options for credit

            monitoring and identity theft protection services;

         k. money and time expended to ameliorate the consequences of the filing of

            fraudulent tax returns;

         l. lost opportunity costs and loss of productivity from efforts to mitigate and

            address the adverse effects of the Data Breach including, but not limited

            to, efforts to research how to prevent, detect, contest, and recover from

            misuse of their personal information;




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                m. loss of the opportunity to control how their personal information is used;

                   and

                n. continuing risks to their personal information, which remains subject to

                   further harmful exposure and theft as long as Defendant fails to undertake

                   appropriate, legally required steps to protect the personal information in its

                   possession.

         C.     AT&T’s Inadequate Data Security Violated the FTC Act and the FCA

         49.    Pursuant to the Federal Trade Commission Act of 1915 (“FCTA”), AT&T was

required to undertake reasonable and appropriate measures to protect the PII entrusted to it

from unauthorized disclosure. Similarly, pursuant to the Federal Communications Act

(“FCA”), common carriers, such as AT&T, are required to protect the consumer PII entrusted

to it.

         50.    The Federal Trade Commission (“FTC”) has adopted and published guidelines

establishing reasonable and appropriate data security measures for businesses such as AT&T.

The guidelines note that businesses should protect the personal customer information that they

keep; properly dispose of PII that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies for installing

vendor-approved patches to correct security problems. The guidelines also recommend that

businesses consider using an intrusion detection system to expose a breach as soon as it

occurs; monitor all incoming traffic for activity indicating someone may be trying to hack the

system; watch for large amounts of data being transmitted from the system; and have a

response plan ready in the event of a breach.

         51.    The FTC has also published guidance titled, “Protecting Personal Information:

A Guide for Business”, which addresses steps that businesses should take to protect sensitive



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consumer data, including noting that: “[i]f you don’t have a legitimate business need for

sensitive personally identifying information, don’t keep it.”22 . Despite this guidance, AT&T

appears to have kept a large amount of PII belonging to consumers who were no longer

AT&T’s customers. In addition, the FTC guide for business provides guidelines for

maintaining network and data security, user authentication, breach detection, and other critical

security best practices.23 AT&T’s failure to follow FTC guidelines, including, but not limited

to, maintaining data on former customers, violated the guidelines. In addition, by its failure to

adopt and maintain reasonable and adequate data security processes, AT&T engaged in unfair

acts or practices within the meaning of the FTC Act.

                             CLASS ACTION ALLEGATIONS

        52.    Plaintiffs bring all claims as class claims under Federal Rule of Civil Procedure

23(a), (b)(1), (2), (3), and (c)(4) on behalf of the classes defined as follows:

        Nationwide Class: All residents of the United States whose PII was accessed or

        otherwise compromised as a result of the Data Breach.

        California Subclass: All residents of the state of California whose PII was accessed

        or otherwise compromised as a result of the Data Breach.

Members of the Nationwide Class and the California Subclass are collectively referred to as

“Class Members” and, unless stated otherwise, the Nationwide Class and California Subclass

are referred to collectively as “the Class.”

        53.    Excluded from the Class are Defendant, any entity in which Defendant has a




22
       https://www.ftc.gov/tips-advice/business-center/guidance/protecting-personal-
information-guide-business, last visited April 2, 2024
23
       https://www.ftc.gov/tips-advice/business-center/guidance/protecting-personal-
information-guide-business, last visited April 2, 2024.


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controlling interest, and Defendant’s officers, directors, legal representatives, successors,

subsidiaries, and assigns. Also excluded from the Class is any judge, justice, or judicial officer

presiding over this matter and the members of their immediate families and judicial staff.

       54.        The proposed Nationwide Class and California Subclass meets the

requirements of Fed. R. Civ. P. 23(a), (b)(1), (2),(3), and (c)(4).

       55.        Numerosity: Both the Nationwide Class and the California Subclass are so

numerous that joinder of all members is impracticable. Based on information and belief, both

the Nationwide Class and the California Subclass include millions of individuals who has

their PII compromised, stolen, and published during the Data Breach. The parties will be able

to identify the exact size of the class through discovery and AT&T’s own documents.

       56.        Commonality: There are numerous questions of law and fact common to

Plaintiffs and the Class including, but not limited to, the following:

                 whether Defendant engaged in the wrongful conduct alleged herein;

                 whether Defendant owed a duty to Plaintiffs and members of the Class to

                  adequately protect their personal information;

                 whether Defendant breached their duties to protect the personal information of

                  Plaintiffs and Class members;

                 whether Defendant knew or should have known that its data security systems,

                  policies, procedures, and practices were vulnerable;

                 whether Plaintiffs and Class Members suffered legally cognizable damages as

                  a result of Defendant’s conduct, including increased risk of identity theft and

                  loss of value of PII;

                 whether Defendant violated state consumer protection statutes; and




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                 whether Plaintiffs and Class Members are entitled to equitable relief including

                  injunctive relief.

       57.        Typicality: Plaintiffs’ claims are typical of the claims of the Class members.

Plaintiffs, like all Class members, had their personal information compromised in the Data

Breach.

       58.        Adequacy: Plaintiffs will fairly and adequately protect the interests of the

Class. Plaintiffs have no interests that are averse to, or in conflict with the Class Members.

There are no claims or defenses that are unique to Plaintiffs. Likewise, Plaintiffs have retained

counsel experienced in class action and complex litigation, including data breach litigation,

and have sufficient resources to prosecute this action vigorously.

       59.        Predominance: The proposed action meets the requirements of Federal Rule

of Civil Procedure 23(b)(3) because questions of law and fact common to the Class

predominate over any questions which may affect only individual Class Members.

       60.        Superiority: The proposed action also meets the requirements of Federal Rule

of Civil Procedure 23(b)(3) because a class action is superior to other available methods for

the fair and efficient adjudication of the controversy. Class treatment of common questions

is superior to multiple individual actions or piecemeal litigation, avoids inconsistent decisions,

presents far fewer management difficulties, conserves judicial resources and the parties’

resources, and protects the rights of each Class Member.

       61.        Absent a class action, the majority of Class members would find the cost of

litigating their claims prohibitively high and would have no effective remedy.

       62.        Risks of Prosecuting Separate Actions: Plaintiffs’ claims also meet the

requirements of Federal Rule of Civil Procedure 23(b)(1) because prosecution of separate




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actions by individual class members would create a risk of inconsistent or varying

adjudications that would establish incompatible standards for Defendant. Defendant continues

to maintain the PII of Class Members and other individuals, and varying adjudications could

establish incompatible standards with respect to its duty to protect individuals’ PII; and

whether the injuries suffered by Class Members are legally cognizable, among others.

Prosecution of separate actions by individual Class Members would also create a risk of

individual adjudications that would be dispositive of the interests of other class members not

parties to the individual adjudications, or substantially impair or impede the ability of Class

Members to protect their interests.

       63.     Injunctive Relief: In addition, Defendant has acted and/or refused to act on

grounds that apply generally to the Class, making injunctive and/or declaratory relief

appropriate with respect to the class under Federal Rule of Civil Procedure 23(b)(2).

Defendant continues to (1) maintain the PII of Class members, (2) fail to adequately protect

said PII, and (3) violate Class Members’ rights under state consumer protection laws and other

claims alleged herein.


                             FIRST CAUSE OF ACTION
                                       Negligence
   (On Behalf of the Nationwide Class against Defendant or, Alternatively, the California
                                        Subclass)

       64.     Plaintiffs re-allege and incorporate by reference all preceding factual

allegations as though fully set forth herein.

       65.     Plaintiffs bring this claim on behalf of themselves and the Class.




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        66.    Plaintiffs and Class Members were required to provide Defendant with their

PII. Defendant collected and stored this information including their names, Social Security

numbers, email address, mailing address, birth date, and other PII.

        67.    Defendant had a duty to Plaintiffs and Class Members to safeguard and protect

their PII.

        68.    Defendant assumed a duty of care to use reasonable means to secure and

safeguard this PII, to prevent its disclosure, to guard it from theft, and to detect any attempted

or actual breach of its systems.

        69.     Defendant has full knowledge about the sensitivity of Plaintiffs’ and Class

Members’ PII, as well as the type of harm that would occur if such PII was wrongfully

disclosed.

        70.    Defendant has a duty to use ordinary care in activities from which harm might

be reasonably anticipated in connection with user PII data.

        71.    Defendant breached their duty of care by failing to secure and safeguard the

PII of Plaintiffs and Class members. Defendant negligently stored and/or maintained its data

security systems and published that information on the Internet.

        72.    Further, Defendant by and through their above negligent actions and/or

inactions, breached their duties to Plaintiffs and Class Members by failing to design, adopt,

implement, control, manage, monitor, and audit its processes, controls, policies, procedures

and protocols for complying with the applicable laws and safeguarding and protecting

Plaintiffs’ and Class Members’ PII within their possession, custody and control.

        73.    Plaintiffs and the other Class Members have suffered harm as a result of

Defendant’s negligence. These victims’ loss of control over the compromised PII subjects




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each of them to a greatly enhanced risk of identity theft, fraud, and myriad other types of fraud

and theft stemming from either use of the compromised information, or access to their user

accounts.

       74.     It was reasonably foreseeable – in that Defendant knew or should have known

– that its failure to exercise reasonable care in safeguarding and protecting Plaintiffs’ and

Class Members’ PII would result in its release and disclosure to unauthorized third parties

who, in turn wrongfully used such PII, or disseminated it to other fraudsters for their wrongful

use and for no lawful purpose.

       75.     But for Defendants’ negligent and wrongful breach of their responsibilities and

duties owed to Plaintiffs and Class Members, their PII would not have been compromised.

       76.     As a direct and proximate result of Defendant’s above-described wrongful

actions, inactions, and omissions, the resulting Data Breach, and the unauthorized release and

disclosure of Plaintiffs’ and Class Members’ PII, they have incurred (and will continue to

incur) the above-referenced economic damages, and other actual injury and harm for which

they are entitled to compensation. Defendant’s wrongful actions, inactions, and omissions

constituted (and continue to constitute) common law negligence/negligent misrepresentation.

       77.     Plaintiffs and Class Members are entitled to injunctive relief as well as actual

and punitive damages.

                            SECOND CAUSE OF ACTION
                                   Breach of Contract
   (On Behalf of the Nationwide Class against Defendant or, Alternatively, the California
                                        Subclass)

       78.     Plaintiffs re-allege the paragraphs above as if fully set forth herein.

       79.     Plaintiffs and Class Members entered into a contract with Defendant for the

provision of title insurance or other closing services.



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         80.    The terms of Defendant’s privacy policy are part of the contract it enters with

each Class Member to provide wireless services.

         81.    Plaintiffs and Class Members performed substantially all that was required of

them under their contract with Defendant, or they were excused from doing so.

         82.    Defendant failed to perform its obligations under the contract, including by

failing to provide adequate privacy, security, and confidentiality safeguards for Plaintiffs and

Class Member’s information.

         83.    As a direct and proximate result of Defendant’s breach of contract, Plaintiffs

and Class Members did not receive the full benefit of the bargain, and instead received title

insurance or other closing services that were less valuable than described in their contracts.

Plaintiffs and Class Members, therefore, were damaged in an amount at least equal to the

difference in value between that which was promised and Defendant’s deficient performance.

         84.    Also, as a result of Defendant’s breach of contract, Plaintiffs and Class

Members have suffered actual damages resulting from the exposure of their personal

information, and they remain at imminent risk of suffering additional damages in the future.

         85.    Accordingly, Plaintiffs and Class Members have been injured by Defendant’s

breach of contract and are entitled to damages and/or restitution in an amount to be proven at

trial.

                             THIRD CAUSE OF ACTION
                                  Unjust Enrichment
   (On Behalf of the Nationwide Class against Defendant or, Alternatively, the California
                                        Subclass)

         86.    Plaintiffs re-allege the paragraphs above as if fully set forth herein.

         87.    Defendant received a benefit from Plaintiffs and the Class in the form of

payments for title insurance or other closing services.



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       88.     The benefits received by Defendant were at the expense of Plaintiffs and Class

Members.

       89.     The circumstances here are such that it would be unjust for Defendant to retain

the portion of Plaintiffs’ and Class Members’ payments that should have been earmarked to

provide adequate privacy, security, and confidentiality safeguards for Plaintiffs’ and Class

Members’ personal information.

       90.     Plaintiffs and the Class seek disgorgement of Defendant’s ill-gotten gains.

                            FOURTH CAUSE OF ACTION
                              Breach of Implied Contract
   (On Behalf of the Nationwide Class against Defendant or, Alternatively, the California
                                        Subclass)

       91.     Plaintiffs re-allege the paragraphs above as if fully set forth herein.

       92.     Plaintiffs and Class Members were required to provide their PII to Defendant

as a condition of their use of Defendant’s services. By providing their PII, and upon

Defendant’s acceptance of such information, Plaintiffs and Class Members, on one hand, and

Defendant, on the other hand, entered into implied-in-fact contracts for the provision of data

security, separate and apart from any express contracts.

       93.     These implied-in-fact contracts obligated Defendant to take reasonable steps

to secure and safeguard Plaintiffs’ and Class Members’ PII. The terms of these implied

contracts are further described in the federal laws, state laws, and industry standards alleged

above, and Defendant expressly assented to these terms in their Privacy Policy and other

public statement described above.

       94.     Plaintiffs and Class Members paid money, or money was paid on their behalf,

to Defendant in exchange for services, along with Defendant’s promise to protect their PII

from unauthorized disclosure.



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       95.     In its Privacy Policy, Defendant expressly promised Plaintiffs and Class

Members that it would only disclose PII under certain circumstances, none of which relate to

the Data Breach.

       96.     Implicit in the agreement between Plaintiffs and Class Members and the

Defendant to provide PII was Defendant ’s obligation to (a) use such PII for business purposes

only; (b) take reasonable steps to safeguard that PII; (c) prevent unauthorized disclosures of

the PII; (d) provide Plaintiffs and Class Members with prompt and sufficient notice of any

and all unauthorized access and/or theft of their PII; (e) reasonably safeguard and protect the

PII of Plaintiffs and Class Members from unauthorized disclosure or uses; and (f) retain the

PII only under conditions that kept such information secure and confidential.

       97.     Without such implied contracts, Plaintiffs and Class Members would not have

provided their PII to Defendant.

       98.     Plaintiffs and Class Members fully performed their obligations under the

implied contract with Defendant; however, Defendant did not.

       99.     Defendant breached the implied contracts with Plaintiffs and Class Members

by failing to reasonably safeguard and protect Plaintiffs’ and Class Members’ PII, which was

compromised as a result of the Data Breach.

       100.    As a direct and proximate result of Defendant’s breach of the implied

contracts, Plaintiffs and Class Members have suffered a variety of damages including but not

limited to: the lost value of their privacy; they did not get the benefit of their bargain with

Defendant; they lost the difference in the value of the secure telecommunication services

Defendant promised and the insecure services received; the value of the lost time and effort

required to mitigate the actual and potential impact of the Data Breach on their lives,




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including, inter alia, that required to place “freezes” and “alerts” with credit reporting

agencies, to contact financial institutions, to close or modify financial accounts, to closely

review and monitor credit reports and various accounts for unauthorized activity, and to file

police reports; and Plaintiffs and other Class Members have been put at an increased risk of

identity theft, fraud, and/or misuse of their PII, which may take months if not years to

manifest, discover, and detect.

                             FIFTH CAUSE OF ACTION
                               Breach of Fiduciary Duty
   (On Behalf of the Nationwide Class against Defendant or, Alternatively, the California
                                        Subclass)

          101.    Plaintiffs re-allege the paragraphs above as if fully set forth herein.

          102.    In light of their special relationship, Defendant has become the guardian of

Plaintiffs’ and Class Members’ PII and/ PHI. Defendant has become a fiduciary, created by

its undertaking and guardianship of its customers’ PII, to act primarily for the benefit of its

customers, including Plaintiffs and Class Members. This duty included the obligation to

safeguard Plaintiffs’ and Class Members’ PII and to timely notify them in the event of a data

breach.

          103.    Defendant has a fiduciary duty to act for the benefit of Plaintiffs and Class

Members upon matters within the scope of its relationship. Defendant breached its fiduciary

duties owed to Plaintiffs and Class Members by failing to properly encrypt and otherwise

protect the integrity of the system containing Plaintiffs’ and Class Members’ PII.

          104.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiffs and Class Members have suffered and will suffer injury, including but not limited

to (a) actual identity theft; (b) an increased risk of identity theft, fraud, and/or misuse of their

PII; (c) the loss of the opportunity of how their PII is used; (d) the compromise, publication,



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and/or theft of their PII; (e) out-of-pocket expenses associated with the prevention, detection,

and recovery from identity theft and/or unauthorized use of their PII; (f) lost opportunity costs

associated with the effort expended and the loss of productivity addressing and attempting to

mitigate the actual and future consequences of the Data Breach, including but not limited to

efforts spent researching how to prevent, detect, contest, and recover from identity theft; (g)

the continued risk to their PII, which remain in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fail to undertake appropriate and

adequate measures to protect customers’ PII in their continued possession; and (h) future costs

in terms of time, effort, and money that will be expended to prevent, detect, contest, and repair

the impact of the PII compromised as a result of the Data Breach for the remainder of the lives

of Plaintiffs and Class Members.

       105.    As a direct and proximate result of Defendant’s breach of their fiduciary duty,

Plaintiffs and Class Members have suffered and will continue to suffer other forms of injury

and/or harm, and other economic and non-economic losses.

                                SIXTH CAUSE OF ACTION
                           BREACH OF IMPLIED COVENANT
                          OF GOOD FAITH AND FAIR DEALING
          (On Behalf of the Nationwide Class or Alternatively, the California Subclass)

       106.    Plaintiffs, individually and on behalf of the Nationwide Class or alternatively

the California Subclass, re-allege and incorporate by reference the allegations contained in

each of the preceding paragraphs as if fully set forth herein.

       107.    Plaintiffs and Class Members entered into valid, binding, and enforceable

express or implied contracts with Defendant, as alleged above.

       108.    These contracts were subject to implied covenants of good faith and fair

dealing that all parties would act in good faith and with reasonable efforts to perform their



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contractual obligations (both explicit and fairly implied) and not to impair the rights of the

other parties to receive the rights, benefits, and reasonable expectations under the contracts.

These included the covenants that Defendant would act fairly and in good faith in carrying

out its contractual obligations to take reasonable measures to protect Plaintiffs’ and Class

Members’ PII and to comply with industry standards and federal and state laws and

regulations.

       109.     A “special relationship” exists between Defendant and the Plaintiffs and Class

Members. Defendant entered into a “special relationship” with Plaintiffs and Class Members

who entrusted Defendant, pursuant to Defendant’s requirements, with their PII.

       110.     Despite this special relationship with Plaintiffs and Class Members, Defendant

did not act in good faith and with fair dealing to protect Plaintiffs’ and Class Members’ PII.

       111.     Plaintiffs and Class Members performed all conditions, covenants, obligations,

and promises owed to Defendant.

       112.     Defendant’s failure to act in good faith in implementing the security measures

required by the contracts denied Plaintiffs and Class Members the full benefit of their bargain,

and instead they received wireless and related services that were less valuable than what they

paid for and less valuable than their reasonable expectations under the contracts. Plaintiffs

and Class Members were damaged in an amount at least equal to this overpayment.

       113.     Defendant’s failure to act in good faith in implementing the security measures

required by the contracts also caused Plaintiffs and Class Members to suffer actual damages

resulting from the theft of their PII, and Plaintiffs and Class Members remain at imminent risk

of suffering additional damages in the future.




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       114.    Accordingly, Plaintiffs and Class Members have been injured as a result of

Defendant’s breach of the covenant of good faith and fair dealing and are entitled to damages

and/or restitution in an amount to be proven at trial.

                               SEVENTH CAUSE OF ACTION
                                     Invasion of Privacy
                              (On Behalf of the California Subclass)

       115.    Plaintiffs re-allege the paragraphs above as if fully set forth herein.

       116.    Plaintiffs bring this claim on behalf of themselves and the California Subclass.

       117.    Plaintiffs and California Subclass Members have a legally protected privacy

interest in their PII that Defendant required them to provide and allow them to store.

       118.    Plaintiffs and California Subclass Members reasonably expected that their PII

would be protected and secured from unauthorized parties, would not be disclosed to any

unauthorized parties or disclosed for any improper purpose.

       119.    Defendant unlawfully invaded the privacy rights of Plaintiffs and California

Subclass Members by (a) failing to adequately secure their PII from disclosure to unauthorized

parties for improper purposes; (b) disclosing their PII to unauthorized parties in a manner that is

highly offensive to a reasonable person; and (c) disclosing their PII to unauthorized parties without

the informed and clear consent of Plaintiffs and Class members. This invasion into the privacy

interest of Plaintiffs and California Subclass Members is serious and substantial.

       120.    In failing to adequately secure Plaintiffs’ and California Subclass Members’ PII,

Defendant acted in reckless disregard of their privacy rights. Defendant knew or should have

known that their substandard data security measures are highly offensive to a reasonable person in

the same position as Plaintiffs and California Subclass Members.




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       121.    Defendant violated Plaintiffs’ and California Subclass Members’ right to privacy

under the common law as well as under state and federal law, including, but not limited to, the

California Constitution, Article I, Section I.

       122.    As a direct and proximate result of Defendant’s unlawful invasions of privacy,

Plaintiffs’ and California Subclass Members’ PII has been viewed or is at imminent risk of being

viewed, and their reasonable expectations of privacy have been intruded upon and frustrated.

Plaintiffs and California Subclass Members have suffered injury as a result of Defendant’s

unlawful invasions of privacy and are entitled to appropriate relief.

                             EIGHTH CAUSE OF ACTION
                        Violation of California Consumers Legal
                   Remedies Act, California Civil Code § 1750, et seq.
                  (On Behalf of the California Subclass against Defendant)

       123.    Plaintiffs re-allege and incorporate by reference all preceding factual

allegations as though fully set forth herein.

       124.    This cause of action is brought pursuant to the California Consumers Legal

Remedies Act (the “CLRA”), California Civil Code § 1750, et seq. This cause of action does

not seek monetary damages at this time but is limited solely to injunctive relief. Plaintiffs

will later amend this Complaint to seek damages in accordance with the CLRA after providing

Defendant with notice required by California Civil Code § 1782.

       125.    Plaintiffs and California Subclass Members are “consumers,” as the term is

defined by California Civil Code § 1761(d).

       126.    Plaintiffs, California Subclass Members, and Defendant has engaged in

“transactions,” as that term is defined by California Civil Code § 1761(e).

       127.    The conduct alleged in this Complaint constitutes unfair methods of

competition and unfair and deceptive acts and practices for the purpose of the CLRA, and the



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conduct was undertaken by Defendant was likely to deceive consumers.

        128.    Cal. Civ. Code § 1770(a)(5) prohibits one who is involved in a transaction

from “[r]epresenting that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities which they do not have.”

        129.    Defendant violated this provision by representing that they took appropriate

measures to protect Plaintiffs and California Subclass Members’ PII. Additionally, Defendant

improperly handled, stored, or protected either unencrypted or partially encrypted data.

        130.    As a result, Plaintiffs and California Subclass Members were induced to enter

into a relationship with Defendant and provide their PII.

        131.    As a result of engaging in such conduct, Defendant has violated Civil Code §

1770.

        132.    Pursuant to Civil Code § 1780(a)(2) and (a)(5), Plaintiffs seek an order of this

Court that includes, but is not limited to, an order enjoining Defendant from continuing to

engage in unlawful, unfair, or fraudulent business practices or any other act prohibited by law.

        133.    Plaintiffs and California Subclass Members suffered injuries caused by

Defendant’s misrepresentations, because they provided their PII believing that Defendant

would adequately protect this information.

        134.    Plaintiffs and California Subclass Members may be irreparably harmed and/or

denied an effective and complete remedy if such an order is not granted.

        135.    The unfair and deceptive acts and practices of Defendant, as described above,

present a serious threat to Plaintiffs and California Subclass Members.




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                               NINTH CAUSE OF ACTION
                           Violation of Unfair Competition Law,
              California Business and Professional Code Section 17200, et seq.
                   (On Behalf of the California Subclass against Defendant)

       136.     Plaintiffs re-allege and incorporate by reference all preceding factual

allegations as though fully set forth herein.

       137.     Plaintiffs brings this claim on behalf of themselves and California Subclass

Members.

       138.     The California Unfair Competition Law, Cal. Bus. & Prof. Code §17200, et

seq. (“UCL”), prohibits any “unlawful,” “fraudulent” or “unfair” business act or practice and

any false or misleading advertising, as defined by the UCL and relevant case law.

       139.     By reason of Defendant’s above-described wrongful actions, inactions, and

omissions, the resulting Data Breach, and the unauthorized disclosure of Plaintiffs’ and

California Subclass Members’ PII, Defendant engaged in unlawful, unfair and fraudulent

practices within the meaning of the UCL.

       140.     Defendant’s business practices as alleged herein are unfair because they offend

established public policy and are immoral, unethical, oppressive, unscrupulous and

substantially injurious to consumers, in that the private and confidential PII of consumers has

been compromised for all to see, use, or otherwise exploit.

       141.     Defendant’s practices were unlawful and in violation of Civil Code § 1798 et

seq. because Defendant failed to take reasonable measures to protect Plaintiffs’ and California

Subclass Members’ PII.

       142.     Defendant’s business practices as alleged herein are fraudulent because they

are likely to deceive consumers into believing that the PII they provide to Defendant will

remain private and secure, when in fact it was not private and secure.



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       143.    Plaintiffs and California Subclass Members suffered (and continue to suffer)

injury in fact and lost money or property as a direct and proximate result of Defendant’s

above-described wrongful actions, inactions, and omissions including, inter alia, the

unauthorized release and disclosure of their PII.

       144.    Defendant’s above-described wrongful actions, inactions, and omissions, the

resulting Data Breach, and the unauthorized release and disclosure of Plaintiffs’ and

California Subclass Members’ PII also constitute “unfair” business acts and practices within

the meaning of Cal. Bus. & Prof. Code § 17200 et seq., in that Defendant’s conduct was

substantially injurious to Plaintiffs and California Subclass Members, offensive to public

policy, immoral, unethical, oppressive and unscrupulous; the gravity of Defendant’s conduct

outweighs any alleged benefits attributable to such conduct.

       145.    But for Defendant’s misrepresentations and omissions, Plaintiffs and

California Subclass Members would not have provided their PII to Defendant or would have

insisted that their PII be more securely protected.

       146.    As a direct and proximate result of Defendant’s above-described wrongful

actions, inactions, and omissions, the resulting Data Breach, and the unauthorized release and

disclosure of Plaintiffs’ and California Subclass Members’ PII, they have been injured: (1)

the loss of the opportunity to control how their PII is used; (2) the diminution in the value

and/or use of their PII entrusted to Defendant; (3) the compromise, publication, and/or theft

of their PII; and (4) costs associated with monitoring their PII, amongst other things.

       147.    Plaintiffs takes upon themselves enforcement of the laws violated by

Defendant in connection with the reckless and negligent disclosure of PII. There is a financial

burden incurred in pursuing this action and it would be against the interests of justice to




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penalize Plaintiffs by forcing them to pay attorneys’ fees and costs from the recovery in this

action. Therefore, an award of attorneys’ fees and costs is appropriate under California Code

of Civil Procedure § 1021.5.

                             TENTH CAUSE OF ACTION
                       Violation of California Customer Records
                       Act, California Civil Code § 1798.80 et. seq.
                  (On Behalf of the California Subclass against Defendant)

       148.     Plaintiffs re-allege and incorporate by reference all preceding factual

allegations as though fully set forth herein.

       149.     “[T]o ensure that personal information about California residents is protected,”

Civil Code section 1798.81.5 requires that any business that “owns, licenses, or maintains

personal information about a California resident shall implement and maintain reasonable

security procedures and practices appropriate to the nature of the information, to protect the

personal information from unauthorized access, destruction, use, modification, or disclosure.”

       150.     Defendant owns, maintains, and licenses personal information, within the

meaning of section 1798.81.5, about Plaintiffs and the California Subclass.

       151.     Defendant violated Civil Code section 1798.81.5 by failing to implement

reasonable measures to protect Plaintiffs’ and California Subclass Members’ personal

information.

       152.     As a direct and proximate result of Defendant’s violations of section 1798.81.5

of the California Civil Code, the Data Breach described above occurred.

       153.     As a direct and proximate result of Defendant’s violations of section 1798.81.5

of the California Civil Code, Plaintiffs and California Subclass Members suffered the

damages described above including, but not limited to, time and expenses related to




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monitoring their financial accounts for fraudulent activity, an increased, imminent risk of

fraud and identity theft, and loss of value of their personally identifying information.

         154.    Plaintiffs and California Subclass Members seek relief under section 1798.84

of the California Civil Code including, but not limited to, actual damages, to be proven at

trial, and injunctive relief.

                           ELEVENTH CAUSE OF ACTION
                             Injunctive/Declaratory Relief
   (On Behalf of the Nationwide Class against Defendant or, Alternatively, the California
                                        Subclass)

         155.    Plaintiffs re-allege the paragraphs above as if fully set forth herein.

         156.    This Count is brought under the federal Declaratory Judgment Act, 28 U.S.C.

§2201.

         157.    As previously alleged, Plaintiffs and Class Members entered into an implied

contract that required Defendant to provide adequate security for the PII they collected from

Plaintiffs and Class Members.

         158.    Defendant owes a duty of care to Plaintiffs and Class Members requiring it to

adequately secure PII.

         159.    Defendant still possesses PII regarding Plaintiffs and Class Members.

         160.    Since the Data Breach, Defendant has announced few if any changes to its data

security infrastructure, processes or procedures to fix the vulnerabilities in its computer

systems and/or security practices which permitted the Data Breach to occur and, thereby,

prevent further attacks.

         161.    Defendant has not satisfied their contractual obligations and legal duties to

Plaintiffs and Class Members. In fact, now that Defendant’s insufficient data security is

known to hackers, the PII in Defendant’s possession is even more vulnerable to cyberattack.



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       162.    Actual harm has arisen in the wake of the Data Breach regarding Defendant’s

contractual obligations and duties of care to provide security measures to Plaintiffs and Class

Members. Further, Plaintiffs and Class Members are at risk of additional or further harm due

to the exposure of their PII and Defendant’s failure to address the security failings that lead

to such exposure.

       163.    There is no reason to believe that Defendant’s security measures are any more

adequate now than they were before the Data Breach to meet Defendant’s contractual

obligations and legal duties.

       164.    Plaintiffs therefore seek a declaration (1) that Defendant’s existing security

measures do not comply with their contractual obligations and duties of care to provide

adequate security, and (2) that to comply with their contractual obligations and duties of care,

Defendant must implement and maintain reasonable security measures, including, but not

limited to, the following:

               a.      Ordering      that    Defendant      engage      third-party    security

                       auditors/penetration testers as well as internal security personnel to

                       conduct testing, including simulated attacks, penetration tests, and

                       audits on Defendant’s systems on a periodic basis, and ordering

                       Defendant to promptly correct any problems or issues detected by such

                       third-party security auditors;

               b.      Ordering that Defendant engage third-party security auditors and

                       internal personnel to run automated security monitoring;

               c.      Ordering that Defendant audit, test, and train their security personnel

                       regarding any new or modified procedures;




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               d.   Ordering that Defendant segment customer data by, among other

                    things, creating firewalls and access controls so that if one area of

                    Defendant’s systems is compromised, hackers cannot gain access to

                    other portions of Defendant’s systems;

               e.   Ordering that Defendant not transmit PII via unencrypted email;

               f.   Ordering that Defendant not store PII in email accounts;

               g.   Ordering that Defendant purge, delete, and destroy in a reasonably

                    secure manner customer data not necessary for its provisions of

                    services;

               h.   Ordering that Defendant conduct regular computer system scanning

                    and security checks;

               i.   Ordering that Defendant routinely and continually conduct internal

                    training and education to inform internal security personnel how to

                    identify and contain a breach when it occurs and what to do in response

                    to a breach; and

               j.   Ordering Defendant to meaningfully educate their current, former, and

                    prospective customers about the threats they face as a result of the loss

                    of their PII to third parties, as well as the steps they must take to protect

                    themselves.

                                PRAYER FOR RELIEF
       WHEREFORE, Plaintiffs request that the Court enter a judgment awarding the
following relief:
               a.   An order certifying this action as a class action under Federal Rule of

                    Civil Procedure 23, defining the Nationwide Class and California



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               Subclass requested herein, appointing the undersigned as Class

               Counsel, and finding that Plaintiffs are proper representatives of the

               Nationwide Class and California Subclass requested herein;

         b.    Declaratory relief requiring Defendant to (1) strengthen their data

               security systems that maintain personally identifying information to

               comply with the applicable state laws alleged herein and best practices

               under industry standards; (2) engage third-party auditors and internal

               personnel to conduct security testing and audits on Defendant’s

               systems on a periodic basis; (3) promptly correct any problems or

               issues detected by such audits and testing; and (4) routinely and

               continually conduct training to inform internal security personnel how

               to prevent, identify and contain a breach, and how to appropriately

               respond;

         c.    An order requiring Defendant to pay all costs associated with class

               notice and administration of class-wide relief;

         d.    An award to Plaintiffs and all Class Members of compensatory,

               consequential, incidental, and statutory damages, restitution, and

               disgorgement, in an amount to be determined at trial;

         e.    An award to Plaintiffs and all Class Members credit monitoring and

               identity theft protection services;

         f.    An award of attorneys’ fees, costs, and expenses, as provided by law

               or equity;

         g.    An order requiring Defendant to pay pre-judgment and post-judgment




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      interest, as provided by law or equity; and

             h.        Such other or further relief as the Court may allow.

Dated: April 3, 2024                                 Respectfully submitted,

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                                                      *application for admission Pro Hac Vice
                                                      forthcoming




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